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 Fill in this information to identify your case:

 Debtor 1                  Loren George DeMers
                           First Name                       Middle Name              Last Name

 Debtor 2                  Teresa Karleen DeMers
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Internal Revenue Service                             Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2332 E Alcove Dr Grand                            Reaffirmation Agreement.
    property              Junction, CO 81507 Mesa                           Retain the property and [explain]:
    securing debt:        County
                          Legal Description: Beg NE Cor
                          Lot 4 Blk 1 Porters Redlands
                          Sub Sec 17 1S 1W S 65.5FT S
                          27DEG50'03SEC W 95.79FT S
                          89DEG44' W 115.29FT N
                          16DEG09'26SEC E 156.38FT N
                          89DEG44' E 116.5 FT to


    Creditor's         M And T Mortgage                                     Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2332 E Alcove Dr Grand                            Reaffirmation Agreement.
                          Junction, CO 81507 Mesa
                          County
                          Legal Description: Beg NE Cor
                          Lot 4 Blk 1 Porters Redlands

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 Debtor 1      Loren George DeMers
 Debtor 2      Teresa Karleen DeMers                                                                  Case number (if known)


     property           Sub Sec 17 1S 1W S 65.5FT S                         Retain the property and [explain]:
     securing debt:     27DEG50'03SEC W 95.79FT S
                        89DEG44' W 115.29FT N
                        16DEG09'26SEC E 156.38FT N
                        89DEG44' E 116.5 FT to


     Creditor's    Wells Fargo Dlrsvc Wacho                                 Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of 2015 GMC Sierra 2500 23,500                             Reaffirmation Agreement.
     property       miles                                                   Retain the property and [explain]:
     securing debt: In Excellent condition, valued
                    per KBB.com ($46,362)                                 Retain

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               Verizon                                                                                             No

                                                                                                                                  Yes

 Description of leased        Contract for Mobile Services with a term of 2 years.
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Loren George DeMers                                                      X /s/ Teresa Karleen DeMers
       Loren George DeMers                                                              Teresa Karleen DeMers
       Signature of Debtor 1                                                            Signature of Debtor 2

       Date        November 26, 2019                                                Date     November 26, 2019




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